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                                           City of Seattle
                                           Jenny Durkan, Mayor



Thank you for the opportunity to provide an update for the Monitoring Team’s Semi-Annual Report. As you are
aware, the past 18 months have been truly challenging for Seattle. Seattle was the first area in the country “in” to the
pandemic. We had no roadmap, little federal assistance and felt the economic and health impacts before most areas
of the country. Front line healthcare providers and first responders were stretched thin, and faced high numbers of
exposures, quarantines and infections as they continues to show up for their roles serving the city. Then, in the midst
of the pandemic, George Floyd’s murder led to rightful protests to demand justice in policing, housing, education,
criminal legal system and all the government institutions impacted by centuries of systemic and institutional racism.
2020 provided the greatest challenge to date of the Seattle Police Department and our accountability partners.
  Last Summer, I made clear that our work to dismantle generational inequity must be a sustained multi-pronged
approach. We cannot limit our focus only to reimagining community safety, continuing to improve and reform the work
of police, and building alternatives to policing. We also must invest in building healthy communities. For too long our
communities of color, particularly our Black community, have been denied the opportunities and resources that create
safe, resilient and healthy communities. In one of the most challenging budget times, I committed $100 million of new
resources to begin investing in the long-term resilience and also committed that the investments would be guided
by the community. The first results of these community driven investments have been delivered and transmitted
to Council.

  I have also outlined the steps that I believed that City of Seattle should take to reimagine policing and community
safety. While we have started this important work, we must continue to make progress on:

  • Increasing the capacity and resources of the independent civilian oversight bodies – OIG, OPA, and CPC – so they
     can fulfil their critical roles
  • Undertaking an unflinching review of SPD responses (individual and collective) to the protests, with a commitment
     to making systemic changes needed in protest response and other uses of force
  • Reimagining community safety by creating and expanding alternatives to sworn police responses in those
     areas where other interventions may increase trust and improve outcomes, like HealthOne, Community Service
     Officers, and other new models
  • Seeking national and international expertise to make policy changes at SPD
  • Investing in community led solutions to both disrupt violence and get upstream to prevent it
  • Fully implementing the recommendations of CP21
  • Continue to make improvements to the bargaining process for police contracts by increasing transparency, the
     role of accountability partners and information for the community
  • Continuing to ensure a robust accountability system by cementing the city’s successful court challenge that now
     limits an arbitrator’s ability to overturn a Chief’s discipline; and
  • To continue to also seek needed further changes to state labor laws that limit the city’s powers to require specified
     accountability in police bargaining
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Resources for the Independent Civilian Oversight. The independent civilian accountability entities have proven
invaluable for the city this year. The Accountability System has been stress tested in ways never contemplated, and
they rose to the challenges and demonstrated both the importance and capabilities of such oversight. The Office of
Police Accountability has worked through an unprecedented number of
   complaints filed against officers stemming from last summer’s protests and civil unrest. Their diligence and
professionalism have resulted not only in significant progress on these investigations, but they have shown a
remarkable maturity as an investigative body and have shown they can be thorough, fair and balanced. Similarly, the
Office of Inspector General delivered a thoughtful analysis of less than lethal tools and also has taken the reigns on a
community-led Sentinel Event Review of the City’s response to the events of last summer. Again, the professionalism
and capacity of this new office is notable. Prioritizing OIG’s access and work in the police contracts proved to be more
important than even anticipated. I am committed to proposing a budget that provides the resource they need to
continue to continue their work, and am committed to seeking additional contract provisions that further ensure their
roles and that otherwise and enhance accountability.

Reimagining Policing and Creating Alternatives to Sworn Responses. As part of the 2021 budget, after a review
by SPD and former Chief Best, I proposed and City Council approved the transfer of some civilian units, 911 dispatch,
parking enforcement, our Office and Emergency Management, and victim advocates out from the Seattle Police
Department. We have also continued to expand two successful alternatives to the dispatch of sworn officers created in
2018 – HealthOne and Community Services Officers.
   In this same vein, in October of 2020, I issued an Executive Order that, among other things, formed a team to conduct
community engagement and functional analysis of the police department to develop recommendations on ways we can
address public safety in our city with a reduced reliance on sworn officers for responses that might better be addressed
by other interventions. The team engaged with community and outside experts, delved into data, participated in an
8-week What Works City “sprint” regarding alternate response models, and worked with other city departments. A final
report released in July 2021 identifies areas where the city can develop and implement alternate response models,
including another dispatch option to deploy specially trained civilians from the Seattle Fire Department.

   The need to find alternatives to sworn responses has also been accelerated by the record-shattering attrition of
sworn officers over the past year. As a result, 911 call response times are up, and there are increasing number of days
where patrol is not staffed with enough officers to response to anything other than priority 1 and 2 call types. Given
the lengthy process for hiring and onboarding officers, it will be some time before Seattle has adequate staffing for all
of the functions that currently fall upon the police department.

Seeking National and International Expertise on SPD Policies Including Crowd Control Management. SPD has
acknowledged that its response to the protests showed a number of areas where SPD fell short and changes needed to
be made on how lawful protests could be protected and facilitated, while changing use of force when needed to disrupt
criminal activity or apprehend criminal actors. The culture of continuous improvement created under the consent
decree, however, allowed SPD to evaluate, listen and change tactics throughout 2020.
   Moreover, SPD was not alone in facing thee challenges. Approximately 100 cities deployed tear gas, and it became
very apparent that our country needs national best practices and standards, on how to respond to such protests,
including what tools and tactics are appropriate. When protests became about policing, it created new challenges for
police. Seattle was among many cities where police who struggled to adapt and respond appropriately to the types of
demonstrations and tactics employed last Summer. In fact, the US Conference of Mayors convened a taskforce and
centered part of its national meeting on the topic. I joined with many Mayors from throughout the country asking for
a national convening and support in building best practices for crowd control, protest facilitation and use of less than
lethal tools.
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   In the months following last summer, SPD engaged with national best experts at the same time OPA, OIG, and the
CPC begin to offer robust analysis and input to make adaptive and substantive policy changes to less than lethal tools,
operations, tactics, and official policies.

   As SPD continues to make continuous changes and updates to its crowd control policies, I know the work to
continuously improve policing must continue to rely on SPD seeking the input of the nation’s leading experts and
the new Department of Justice leadership in order to evaluate data and address disparities as it relates to stops and
detentions and traffic stops for minor, civil and non-dangerous violations.

Investing in Community Led Solutions. In tandem with our re-imagining work, our Human Services Department was
tasked with collecting proposals from community groups to award $10.4 million in funds to build community led safety
programs. This was based on the recognition that cutting police only would leave a public safety vacuum. Alternative
response programs need to be developed and reviewed. As a part of the application process, these proposals were
asked to indicate whether they saw themselves as an actual replacement for police function, a co-response model, or
neither and asked about their focus area: prevention, intervention, or restoration. The vast majority of the proposals
fall into the prevention or restoration categories, with only 5 of the proposals self-identifying as potential substitutes
for police functions, including survivor resources. Further analysis will be necessary to determine what, if any, impact
they will have on the need for sworn officers.

Changes to the Collective Bargaining Process and Continued Advocacy for Statewide Changes. Accountability has
remained a key tenant of the City’s priorities. The City made clear that it opposed an arbitrator’s decision to reinstate
Officer Adley Shepherd, and Chief Best refused to do so. In addition, the City took the unprecedented step to challenge
this decision to the King County Superior Court. The City prevailed in this challenge, with the Court finding that the
decision of the arbitrator was contrary to the clear public policy of the City of Seattle. This ruling was possible in large
part because of the policies established and confirmed in the consent decree, and the significant changes made by the
city to ensure accountability for the improper use of force.
   In April 2021, the Washington Court of Appeals upheld the City’s position to not reinstate Officer Shepherd saying
that “we conclude that the public policy against the use of excessive force in policing bars reinstatement.” This is now
the law that is binding on all arbitrations and will limit an arbitrators ability to overrule the Chief in such cases.

   As further protection, the City also proposed and argued for changes in state law on the scope of arbitration in police
discipline. Because the right to arbitration is created by state law, changes are needed at the state level. Unfortunately
no changes to state law on arbitration will take place this year However, other changes supported by the city and that
bring the rest of the state more in line with current SPD policy were passed, including changes to the decertification
process, investigation protocols for officer involved shootings, mandatory duty to intervene, and changes to tactics and
equipment. The City will continue to advocate for arbitration labor reforms we championed at the State level passed
through the legislature.

   The City of Seattle is in negotiations with the Police Management Association and is poised to soon begin contract
negotiations with the Seattle Police Officer’s Guild. The collective bargaining process will look much different this time
around, with participation from our Accountability Partners. In the current round of contract negotiations, for the
first time, a City Council central staff member will join the City’s team at the bargaining table on issues related to
accountability. In previous negotiations, OPA and OIG provided technical assistance and input to the bargaining team
in their areas of subject matter expertise, and to help shape bargaining priorities. Their role has been formalized. In
addition, a representative from the CPC will serve as a Technical Advisor in the bargaining negotiations. This change
marks the first time a representative from the Community Police Commission will have a role in the bargaining process.
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   Continuing to make systemic changes to the police department will continue to require deep work in collaboration
with community, the oversight entities and the Monitoring team. Most importantly, it require the current willingness
to have candid examination, and a culture of continuous improvement and ongoing support for officers and their
wellness. It was not just a challenging year for the Department, it was a challenging year for the men and women
committed to serving the people of Seattle.

   Once again, thank you for the opportunity to provide an update for the Semi-Annual Report. I am appreciative of
our partnership. The past year has been unprecedented for the City of Seattle, and there is still much more work to be
done.



Sincerely,




Jenny Durkan
Mayor
